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 1   Marshall Meyers (020584)
 2   WEISBERG & MEYERS, LLC
     5025 North Central Ave., #602
 3   Phoenix, AZ 85012
 4
     602 445 9819
     866 565 1327 facsimile
 5   mmeyers@AttorneysForConsumers.com
 6
     Attorney for Plaintiff

 7
                              UNITED STATES DISTRICT COURT

 8
                               FOR THE DISTRICT OF ARIZONA

 9   Veronica Fair,                         ) Case No.
10
                                            )
     Plaintiff,                             ) COMPLAINT AND TRIAL BY JURY
11                                          ) DEMAND
            vs.                             )
12
                                            )
13   Frank S. Falzone & Associates, PLLC and)
     Frank S. Falzone,                      )
14
                                            )
15   Defendants.                            )
16
                                       NATURE OF ACTION
17

18           1.    This is an action brought under the Fair Debt Collection Practices Act
19
     (“FDCPA”), 15 U.S.C. § 1692 et seq.
20
                                   JURISDICTION AND VENUE
21

22           2.    This Court has jurisdiction under 15 U.S.C. § 1692k(d) and 28 U.S.C. §
23
     1331.
24
             3.    Venue is proper before this Court pursuant to 28 U.S.C. §1391(b), where
25

26   the acts and transactions giving rise to Plaintiff’s action occurred in this district, (where
27   Plaintiff resides in this district), and/or where Defendants transact business in this district.
28




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 1                                           PARTIES
 2
            4.     Plaintiff, Veronica Fair (“Plaintiff”), is a natural person who at all relevant
 3

 4
     times resided in the State of Arizona, County of Yuma, and City of Yuma.

 5          5.     Plaintiff is a “consumer” as defined by 15 U.S.C. § 1692a(3).
 6
            6.     Defendant, Frank S. Falzone & Associates, PLLC (“FSF&A”) is an entity
 7

 8
     who at all relevant times was engaged, by use of the mails and telephone, in the business

 9   of attempting to collect a “debt” from Plaintiff, as defined by 15 U.S.C. §1692a(5).
10
            7.     Defendant, Frank S. Falzone (“Falzone”) is an individual who at all
11
     relevant times was engaged, by use of the mails and telephone, in the business of
12

13   attempting to collect a “debt” from Plaintiff, as defined by 15 U.S.C. §1692a(5).
14
            8.     “Employees can be held personally liable under the FDCPA.” Robinson v.
15
     Managed Accounts Receivable Corp., 654 F. Supp. 2d 1051, 1059 (C.D. Cal. 2009); see
16

17   Schwarm v. Craighead, 552 F. Supp. 2d 1056, 1070-71 (E.D. Cal. 2008).
18
            9.     Furthermore, “most district courts that have addressed the issue have held
19
     that the corporate structure does not insulate shareholders, officers, or directors from
20

21   personal liability under the FDCPA.” Schwarm v. Craighead, 552 F. Supp. 2d 1056,
22   1070-71 (E.D. Cal. 2008); see Kistner v. Law Offices of Michael P. Margelefsky, L.L.C.,
23
     518 F.3d 433, 437-38 (6th Cir. 2008); del Campo v. Kennedy, 491 F. Supp. 2d 891, 903
24

25   (N.D.Cal.2006); Brumbelow v. Law Offices of Bennett & Deloney, P.C., 372 F.Supp.2d

26   615, 618-21 (D. Utah 2005); Albanese v. Portnoff Law Assocs., Ltd., 301 F. Supp. 2d
27
     389, 400 (E.D. Pa. 2004); Musso v. Seiders, 194 F.R.D. 43, 46-47 (D.Conn.1999); Brink
28
     v. First Credit Res., 57 F. Supp. 2d 848, 861-62 (D. Ariz. 1999); Pikes v. Riddle, 38 F.


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 1   Supp. 2d 639, 640 (N.D. Ill. 1998); Ditty v. CheckRite, Ltd., 973 F. Supp. 1320, 1337-38
 2
     (D. Utah 1997); Newman v. Checkrite Cal., Inc., 912 F. Supp. 1354, 1372 (E.D.
 3

 4
     Cal.1995); Teng v. Metro. Retail Recovery Inc., 851 F. Supp. 61, 67 (E.D. N.Y. 1994).

 5          10.    Frank S. Falzone & Associates, PLLC and Frank S. Falzone (“Defendants”)
 6
     are “debt collectors” as defined by 15 U.S.C. § 1692a(6).
 7

 8
                                   FACTUAL ALLEGATIONS

 9          11.    Plaintiff is a natural person obligated, or allegedly obligated, to pay a debt
10
     owed or due, or asserted to be owed or due a creditor other than Defendants.
11
            12.    Plaintiff's obligation, or alleged obligation, owed or due, or asserted to be
12

13   owed or due a creditor other than Defendants, arises from a transaction in which the
14
     money, property, insurance, or services that are the subject of the transaction were
15
     incurred primarily for personal, family, or household purposes. Plaintiff incurred the
16

17   obligation, or alleged obligation, owed or due, or asserted to be owed or due a creditor
18
     other than Defendants.
19
            13.    Defendants use instrumentalities of interstate commerce or the mails in a
20

21   business the principal purpose of which is the collection of any debts, and/or regularly
22   collects or attempts to collect, directly or indirectly, debts owed or due, or asserted to be
23
     owed or due another.
24

25          14.    Defendants are attempting to collect $3.702.29 on an alleged debt from the

26   year 2000.
27
            15.    Plaintiff informed Defendants in an email dated September 22, 2010 @
28
     8:37 P.M. that the debt was outside of the applicable statute of limitations.


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 1          16.    Defendants responded in an email on September 23, 2010 @ 4:52 A.M.
 2
     representing that a payment had been made on May 21, 2008, though no such payment
 3

 4
     had been made, and continued collection activities against Plaintiff. (15 U.S.C. §§

 5   1692e(2)(A), 1692e(10)).
 6
            17.    Defendants, via their agent and/or employee “Jeff Perkins,” sent Plaintiff an
 7

 8
     email on September 22, 2010 in which it stated, “We are aware that you don’t actually

 9   owe the original amount quoted to you,” and despite such acknowledgement, continued
10
     collection activities against Plaintiff for such incorrect amount.
11
            18.    Defendants, via their agents or employees Jeff Perkins and Ericka Ortwein,
12

13   sent Plaintiff emails dated September 22, 2010 @ 1:54 P.M., September 22, 2010 @ 2:18
14
     P.M., September 22, 2010 @ 4:00 P.M., September 22, 2010 @ 5:02 P.M., September
15
     22, 2010 @ 5:29 P.M., September 23, 2010 @ 4:52 A.M., September 23, 2010 @ 8:35
16

17   A.M., September 23, 2010 @ 8:54 A.M., and September 23, 2010 @ 9:11 A.M. in which
18
     Defendants failed to disclose that the communication was from a debt collector.
19
            19.    Furthermore, in the email dated September 23, 2010 @ 8:35 A.M.
20

21   Defendants, via their agent or employee Jeff Perkins, stated that Defendant “is not a
22   collection agency.” (15 U.S.C. §§ 1692e(10), 1692e(11)).
23
            20.    Defendants, upon information and good-faith belief, is a New York law
24

25   firm with no employees and/or agents that are licensed to practice law in the State of

26   Arizona (the jurisdiction of Plaintiff’s residence), yet Defendants repeatedly and
27
     continuously reiterated to Plaintiff that it was a law firm, for the express purpose of
28
     intending Plaintiff to believe that Defendants possessed the ability to initiate litigation


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 1   against Plaintiff in the jurisdiction of her residence, which it did not. (15 U.S.C. §§
 2
     1692e(3), 1692e(10)).
 3

 4
           21.      Defendants’ actions constitute conduct highly offensive to a reasonable

 5   person.
 6
                                           COUNT I
 7                                     DEFENDANT FSF&A
 8
           22.      Plaintiff repeats and re-alleges each and every allegation contained above.
 9
           23.      Defendant violated the FDCPA as detailed above.
10

11         WHEREFORE, Plaintiff prays for relief and judgment, as follows:
12
                 a) Adjudging that Defendant violated the FDCPA;
13
                 b) Awarding Plaintiff statutory damages, pursuant to 15 U.S.C. §1692k, in the
14

15                  amount of $1,000.00;
16
                 c) Awarding Plaintiff actual damages, pursuant to 15 U.S.C. §1692k;
17
                 d) Awarding Plaintiff reasonable attorneys’ fees ands costs incurred in this
18

19                  action;
20
                 e) Awarding Plaintiff any pre-judgment and post-judgment interest as may be
21
                    allowed under the law;
22

23               f) Awarding such other and further relief as the Court may deem just and

24                  proper.
25
                                          COUNT II
26                                   DEFENDANT FALZONE
27
           24.      Plaintiff repeats and re-alleges each and every allegation contained above.
28
           25.      Defendant violated the FDCPA as detailed above.


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 1      WHEREFORE, Plaintiff prays for relief and judgment, as follows:
 2
           g) Adjudging that Defendant violated the FDCPA;
 3

 4
           h) Awarding Plaintiff statutory damages, pursuant to 15 U.S.C. §1692k, in the

 5             amount of $1,000.00;
 6
           i) Awarding Plaintiff actual damages, pursuant to 15 U.S.C. §1692k;
 7

 8
           j) Awarding Plaintiff reasonable attorneys’ fees ands costs incurred in this

 9             action;
10
           k) Awarding Plaintiff any pre-judgment and post-judgment interest as may be
11
               allowed under the law;
12

13         l) Awarding such other and further relief as the Court may deem just and
14
               proper.
15
                                     TRIAL BY JURY
16

17      Plaintiff is entitled to and hereby demands a trial by jury.
18
               Respectfully submitted this 18th day of November, 2010
19
                              By: s/ Marshall Meyers
20
                              Marshall Meyers (020584)
21                            WEISBERG & MEYERS, LLC
                              5025 North Central Ave., #602
22                            Phoenix, AZ 85012
23                            602 445 9819
                              866 565 1327 facsimile
24                            mmeyers@AttorneysForConsumers.com
25                            Attorney for Plaintiff

26

27

28




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